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                                                                       May 4, 2019


The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


              Re:     United States v. Joaquín Archivaldo Guzmán Loera
                      Case No. 09-CR-0466 (S-4)(BMC)
	

Your Honor:

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to a computer error. Please ignore and remove.


                                                   Respectfully Submitted,


                                                   /s/ Michael Lambert, Esq.
                                                     Attorney for Defendant


cc:

The parties via ECF
